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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION


  UNITED STATES OF
  AMERICA,


              Plaintiff,
                                          Civil Action No. EP 21-cv-173-KC
  v.

  STATE OF TEXAS; and
  GREG ABBOTT, in his official
  capacity as Governor of the State of
  Texas,

              Defendants.


                    NOTICE OF PENDING ADMISSION


   Undersigned counsel hereby notifies the Court that on September 16, 2021,

pursuant to the Court’s order of August 11, 2021, ECF No. 28 he applied for

admission to the bar of this Court and the application is still pending.

                              Respectfully submitted,

                                s/ Eric C. Rassbach
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                          CERTIFICATE OF SERVICE
   I hereby certify that on the 21st day of September 2021, I electronically filed
the foregoing Notice with the Clerk of Court using the CM/ECF system which

will send notification of such filing to the following:


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                                               /s/ Eric C. Rassbach
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